Case 2:20-cv-03212-ODW-SK      Document 84-2   Filed 03/14/22    Page 1 of 30 Page ID
                                      #:1269


   1   ALLISON S. HART (BAR NO. 190409)
       ahart@lavelysinger.com
   2   KELSEY J. LEEKER (BAR NO. 313437)
       kleeker@lavelysinger.com
   3   LAVELY & SINGER
       PROFESSIONAL CORPORATION
   4   2049 Century Park East, Suite 2400
       Los Angeles, California 90067-2906
   5   Telephone: (310) 556-3501
       Facsimile: (310) 556-3615
   6
       Attorneys for Plaintiff/Consolidated Defendant
   7   TYLER ARMES
   8

   9

  10                       UNITED STATES DISTRICT COURT
  11                     CENTRAL DISTRICT OF CALIFORNIA
  12                                WESTERN DIVISION
  13   TYLER ARMES,                            CASE NO. 2:20-cv-03212-ODW(SKx)
  14                                           Consolidated with 2:20-cv-10205
                      Plaintiff,
  15                                           [Hon. Otis D. Wright, II – Crtrm 5D]
             v.
  16                                           DECLARATION OF TYLER
  17
       AUSTIN RICHARD POST, publicly           ARMES IN SUPPORT OF
       known as POST MALONE, an                PLAINTIFF’S OPPOSITION TO
  18   individual; ADAM KING FEENEY,           DEFENDANTS’ MOTION FOR
  19
       publicly known as FRANK DUKES,          SUMMARY JUDGMENT
       an individual; UNIVERSAL MUSIC
  20   GROUP, INC., a Delaware                 Date:            April 4, 2022
  21   corporation; DOES 1 through 10,         Time:            1:30 p.m.
       inclusive,                              Ctrm:            5D (First Street
  22
                                                                Courthouse)
                      Defendants.
  23
                                               Filed:           April 7, 2020
  24
                                               Trial:           May 17, 2022
  25

  26

  27

  28
                                               1
         DECLARATION OF TYLER ARMES IN SUPPORT OF PLAINTIFF’S OPPOSITION TO DEFENDANTS’
                                MOTION FOR SUMMARY JUDGMENT
Case 2:20-cv-03212-ODW-SK         Document 84-2   Filed 03/14/22   Page 2 of 30 Page ID
                                         #:1270


   1                         DECLARATION OF TYLER ARMES
   2   I, Tyler Armes, declare:
   3         1.     I am the Plaintiff in this action, and I am submitting this Declaration in
   4   support of my Opposition to the Motion for Summary Judgment filed by
   5   Defendants Austin Richard Post (publicly known as “Post Malone” and hereinafter
   6   referred to as “Post”) and Adam King Feeney (publicly known as “Frank Dukes”
   7   and hereinafter referred to as “Dukes”). I have personal and firsthand knowledge of
   8   the matters set forth in this Declaration and, if called and sworn as a witness, I
   9   could and would testify competently thereto under oath.
  10         2.     I have worked as a professional songwriter, musician and producer for
  11   over 20 years. When I was in the 8th grade, I formed a band called Down With
  12   Webster, which was signed to Motown in 2009 by Sylvia Rhone, one of the most
  13   influential music executives in the industry. I acted as the bandleader, writer and
  14   producer for Down With Webster, and under my leadership the band sold multiple
  15   platinum albums and over 1,000,000 singles. Down With Webster was also
  16   nominated for a number of Juno Awards, MuchMusic (Canada’s version of MTV)
  17   Video Awards and Canadian Radio Music Awards. I personally wrote and
  18   produced five (5) of Down with Webster’s top five (5) Canadian singles
  19   including, Rich Girl$, Your Man, Whoa is Me, One in a Million and Chills. Down
  20   With Webster performed sold-out shows at Toronto’s famed Massey Hall, as well
  21   as performing at the Juno Awards, MuchMusic Video Awards and the Grey Cup,
  22   the championship game of the Canadian Football League.
  23         3.     In 2016, I, along with some of the core members of Down With
  24   Webster, formed a new band called Honors, for which I was also the bandleader,
  25   songwriter and producer. Honors’ song Over was the Number 1 Global Viral Track
  26   on Spotify in January 2017, and it charted on the US Alternative Radio charts.
  27   Honors was courted by multiple major record labels and, after receiving multiple
  28
                                                  2
         DECLARATION OF TYLER ARMES IN SUPPORT OF PLAINTIFF’S OPPOSITION TO DEFENDANTS’
                                MOTION FOR SUMMARY JUDGMENT
Case 2:20-cv-03212-ODW-SK      Document 84-2     Filed 03/14/22   Page 3 of 30 Page ID
                                      #:1271


   1   offers, it signed with PRMD, the label helmed by Ash Pournouri, who is best
   2   known for managing the late artist Avicci.
   3         4.     In addition, I personally have a music publishing deal with Warner
   4   Chappell Music, and my music has appeared in campaigns for Panasonic, Major
   5   League Baseball, TBS, Fox and The Voice on NBC. As a songwriter and producer,
   6   I have collaborated with some of the top writers and producers in the music
   7   industry, including Murda Beatz, Bonnie Mckee, Jeff Gitty, Justin Tranter, Jesse
   8   Saint John and Timbaland. I also co-wrote and produced a song on Lil Baby’s
   9   Number 1 charting album My Turn, released on February 28, 2020 which is a 4x
  10   Platinum Album.
  11         5.     In approximately 2017, I was approached by a talent manager in the
  12   music industry named Dre London (“London”), who is best known for managing
  13   Post. London expressed interest in managing both me personally and my band
  14   Honors. In addition, on a number of occasions, London suggested that I should get
  15   in the studio with Post to collaborate with him in writing a song.
  16         6.     London invited me to attend a private concert at which Post was
  17   performing for a marijuana company in Toronto, Canada on August 6, 2018.
  18   Following that concert, London informed me that the following evening, he and
  19   Post would be attending a show by a band Post admired called Black Label Society
  20   at a club in Toronto. London invited me to attend the show with them and I agreed.
  21   The following evening, August 7, 2018, London directed me to meet him at a back
  22   entrance to the club where Black Label Society was performing, and we watched
  23   the show from the side of the stage. After the show, I was invited into the green
  24   room backstage with Post and London to meet the band.
  25         7.     While I was in the green room backstage with Post and London
  26   following the Black Label Society show in Toronto on August 7, 2018, London
  27   invited me to go to a music studio with Post and London immediately afterwards to
  28   write music with Post and Dukes, and I agreed. London then informed Post that I
                                                3
         DECLARATION OF TYLER ARMES IN SUPPORT OF PLAINTIFF’S OPPOSITION TO DEFENDANTS’
                                MOTION FOR SUMMARY JUDGMENT
Case 2:20-cv-03212-ODW-SK      Document 84-2     Filed 03/14/22   Page 4 of 30 Page ID
                                      #:1272


   1   was “an awesome musician” and that I was going back to the studio to work with
   2   him, and Post responded to me, “Awesome, man, let’s write a tune, awesome, fuck
   3   yeah,” and other words to that effect.
   4          8.    Prior August 7, 2018, although I was acquainted with Post, I did not
   5   know him well and did not consider him to be a friend. I did not know Dukes prior
   6   to August 7, 2018, and to the best of my recollection, I had never met him before
   7   that date.
   8          9.    We left the club following the performance by Black Label Society at
   9   approximately 2:00 a.m. in the morning of August 8, 2018, and I was driven to the
  10   studio, which was only a few minutes away from the club, in a car with Post,
  11   Dukes, London and another of Post’s managers, Austin Rosen.
  12          10.   When we arrived at the studio on August 8, 2018, Post, Dukes and
  13   other individuals who I understood were part of Post’s entourage went into the “live
  14   room,” where Post, Dukes and I started jamming and playing music together.
  15   Shortly thereafter, Post, Dukes and I got down to the business of songwriting, and
  16   the other individuals present left the room, leaving me, Post and Dukes alone where
  17   the three (3) of us worked together, starting from scratch, to co-write the music for
  18   the composition entitled “Circles” until approximately 9:00 a.m. that morning.
  19          11.   Attached hereto as Exhibit 1 is a true and correct copy of a voice
  20   memo recording I made on my phone at the end of the songwriting session with
  21   Post and Dukes on August 8, 2018, that captures the playback of a recording made
  22   of the underlying music jointly composed by Post, Dukes and myself for “Circles”
  23   on August 8, 2018, and which reflects the combined contributions of Post, Dukes
  24   and myself to the creation of the composition of “Circles.”
  25          12.   Attached hereto as Exhibit 2 is a true and correct copy of the
  26   commercially released version of “Circles.” Although the lyrics to “Circles” had
  27   not yet been written (though the key word “circles” which became the title of the
  28   song was in the recording captured of our composition that night), the underlying
                                                4
         DECLARATION OF TYLER ARMES IN SUPPORT OF PLAINTIFF’S OPPOSITION TO DEFENDANTS’
                                MOTION FOR SUMMARY JUDGMENT
Case 2:20-cv-03212-ODW-SK       Document 84-2     Filed 03/14/22   Page 5 of 30 Page ID
                                       #:1273


   1   melodic/harmonic and rhythmic music recorded in Exhibit 1 is virtually note-for-
   2   note identical to the music in the commercially released version of “Circles”
   3   attached hereto as Exhibit 2.
   4         13.    Prior to August 8, 2018, none of the “Circles” composition had been
   5   written, and we started with a completely blank slate. When we composed the
   6   music for “Circles” together, we started with Post playing the drums and myself on
   7   bass to create the underlying drumbeat/groove in the song. Post was originally
   8   playing a faster tempo on the drums, and I directed him slow it down so it would
   9   groove better, as I believed the faster tempo that Post initially played was too
  10   rushed. Dukes and I co-wrote and added to the additional bassline and chord
  11   progression, with Dukes and I alternatively working on both a bass guitar and a
  12   keyboard to create the bassline and chord progression in the song. My contributions
  13   to the bassline include the composition and arrangement of a 1-4-5 chord
  14   progression using the notes C, F to G on the bass guitar, which appears on the
  15   commercially released version of the song “Circles.” The bassline I co-wrote with
  16   Dukes for “Circles” can first be heard beginning at the 5 second mark in Exhibit 1
  17   (the voice memo recording), and beginning at the 16 second mark in Exhibit 2 (the
  18   commercially released version of “Circles”) and it repeats throughout the song.
  19         14.    There are two guitar parts in the “Circles” composition, and I co-wrote
  20   both parts. The first is a guitar melody that is played by the lead guitar in the
  21   introduction of “Circles,” and which repeats throughout the song. Post and I co-
  22   wrote the guitar melody that plays in the introduction of “Circles” with Post on the
  23   guitar and me sitting next to him verbally singing the second half of the melody and
  24   cadence out loud, giving Post direction as to exactly which notes to play. The
  25   cadence and turnaround phrasing that concludes the guitar melody which appears in
  26   both the voice memo recording (Ex. 1) and the commercially released version of
  27   “Circles” was a direct result of my contributions to the authorship of the guitar
  28   melody. The guitar melody first appears at the 1.5 second mark in Exhibit 1 (the
                                                 5
         DECLARATION OF TYLER ARMES IN SUPPORT OF PLAINTIFF’S OPPOSITION TO DEFENDANTS’
                                MOTION FOR SUMMARY JUDGMENT
Case 2:20-cv-03212-ODW-SK      Document 84-2     Filed 03/14/22    Page 6 of 30 Page ID
                                      #:1274


   1   voice memo recording), appears again in its entirety at the 37 second mark in
   2   Exhibit 1, and it repeats throughout the song. The guitar melody first appears at the
   3   2 second mark in Exhibit 2 (the commercially released version of “Circles”),
   4   repeats with Post’s voice mirroring the guitar melody at starting at the 18 second
   5   mark and repeats in every chorus thereafter. I also co-wrote the guitar chords,
   6   including the parts in the song where the F major chord changes to an F minor
   7   chord, which first appears starting at the 20 second mark in Exhibit 1, and at the 0
   8   second mark in Exhibit 2.
   9         15.    The bassline, guitar melody and chord progression in the song
  10   “Circles” which I co-wrote repeat in an 8 bar loop that has elements added and
  11   subtracted to them depending on whether these elements are repeated in the chorus
  12   or the verses of the song.
  13         16.    The song co-written by Post, Dukes and I was recorded to Dukes’s
  14   laptop on August 8, 2018. During the recording process, Post, Dukes and I
  15   discussed and mutually agreed on which takes of the song should be included in the
  16   recording. We discussed and agreed that the song sounded better stripped down to
  17   just bass, guitar and drums as the prominent sounds, without a lead keyboard in the
  18   foreground. This helped shape the sound of an organic band - which was derived
  19   from the approach of all of us playing on live instruments to start the process that
  20   night. This was a totally new sound and style for Post, who previously recorded
  21   most of his music using pre-recorded beats or “rap tracks” on a computer. I also
  22   directed the bass to be played using a pick as opposed to fingers when the song was
  23   recorded. It was my idea, and Post and Dukes agreed, that both the vocals and
  24   guitar should have a large amount of reverb on them. My contributions to the
  25   composition of “Circles” in this regard are reflected both in Exhibit 1 – the voice
  26   memo I recorded of Dukes playing back the recording of the song on his laptop,
  27   and Exhibit 2 – the commercially released version of “Circles.”
  28
                                                 6
         DECLARATION OF TYLER ARMES IN SUPPORT OF PLAINTIFF’S OPPOSITION TO DEFENDANTS’
                                MOTION FOR SUMMARY JUDGMENT
Case 2:20-cv-03212-ODW-SK        Document 84-2     Filed 03/14/22   Page 7 of 30 Page ID
                                        #:1275


   1            17.   After the composition of the final version of the music for “Circles”
   2   had been completed and recorded to Dukes’s laptop on August 8, 2018, Dukes
   3   played back the recording of our composition, and I recorded what was played to
   4   the voice memo attached hereto as Exhibit 1. After the song ended, Post, Dukes
   5   and I can be heard celebrating the song we had just created. Dukes’s voice can be
   6   heard in the recording exclaiming, “It’s so fucking good! It’s a whole new sound
   7   man. Post can also be heard saying, “It’s super special,” and “that’s gonna be the
   8   next … we’re just gonna, for the next album we’re just gonna use a fuck load of
   9   reverb.,” Dukes is also heard stating, “this kind of track would be insane to play
  10   live.”
  11            18.   Attached hereto as Exhibit 3 is a true and correct copy of a text
  12   message I sent to two (2) of my bandmates in Down With Webster and Honors,
  13   Marty Martino and Pat Gillett, at 5:13 a.m. on August 8, 2018, memorializing the
  14   fact that I was in the studio with Post and Dukes on that date co-writing a song with
  15   them. I sent the message because I was scheduled to meet with them later that
  16   morning to work on music with them and I wanted to alert them to the fact that I
  17   would not be able to meet as scheduled since I had been working in the studio all
  18   night with Post and Dukes writing a song for Post.
  19            19.   On August 5, 2019, London posted a snippet of the song “Circles” on
  20   Instagram, and announced that Post would premier the song live that night during
  21   his Bud Light Dive Bar Tour show in New York City. “Circles” was released
  22   commercially on August 30, 2019, and was included on Post’s album
  23   entitled Hollywood’s Bleeding which was released in its entirety on September 6,
  24   2019. As detailed in the accompanying Declaration of Judith Finell, the music on
  25   the commercially released version of “Circles” (Ex. 2) is virtually identical to the
  26   song composed by Post, Dukes and me on August 8, 2018, which is captured on the
  27   voice memo recording attached hereto as Exhibit 1.
  28
                                                  7
         DECLARATION OF TYLER ARMES IN SUPPORT OF PLAINTIFF’S OPPOSITION TO DEFENDANTS’
                                MOTION FOR SUMMARY JUDGMENT
Case 2:20-cv-03212-ODW-SK      Document 84-2    Filed 03/14/22   Page 8 of 30 Page ID
                                      #:1276


   1         20.    When London posted the snippet of “Circles” and announced that it
   2   would be premiered live by Post on August 5, 2019, I immediately contacted
   3   London and sent him the following text message, a true and correct copy of which
   4   is attached hereto as Exhibit 4:
   5        Dre, I need you to ask Post about this please….
   6        Post asked me to write with them and jam and we did for well over an hour
   7        in the live recording room coming up with the jam that lead into the
   8        recording of circles.
   9        I was there until long after the sun came up with them in the main room
  10        working on the song and playing different instruments and contributing to
  11        ideas from start to finish.
  12        Specifically the bass and guitar parts, post ended up tracking them after I
  13        was playing. I was beside him giving input on both of them. I was not just
  14        someone hanging out in the room, I’m a writer/producer in the room with
  15        two other writer/producers working on a song.
  16        I have never asked for anything I don’t deserve. I’ve been in 100 studio
  17        sessions with Lou while he was working at EF with different artists, I know
  18        when I am just hanging out. This was much different.
  19        I was part of the writing process. The entire song (minus the lyrics other
  20        than “circles”) was laid down that night with the 3 of us in the room
  21        together, working together.
  22        … Please speak to post. I’ll have Cory my manager hit up frank’s manager.
  23        Thanks brother, excited for the song.
  24         21.    On August 9, 2019, London responded to my text message: “Just
  25   showed Posty the message [¶] He said he remembers [¶] U played a tune on the
  26   bass then he played more of it after”. Since London is Post’s representative and
  27   manager, I understood London’s message to be an acknowledgment on behalf of
  28   Post that I co-wrote the song. Notwithstanding the foregoing, to date, Defendants
                                               8
         DECLARATION OF TYLER ARMES IN SUPPORT OF PLAINTIFF’S OPPOSITION TO DEFENDANTS’
                                MOTION FOR SUMMARY JUDGMENT
Case 2:20-cv-03212-ODW-SK       Document 84-2       Filed 03/14/22   Page 9 of 30 Page ID
                                       #:1277


   1   have refused to credit me as a co-writer of “Circles” and have refused to pay me
   2   any share of the publishing royalties for the song.
   3         22.    On November 15, 2019, a copyright registration for the composition of
   4   “Circles” was filed on my behalf, identifying Post, Dukes and me as co-writers of
   5   the music (composition) of “Circles”. A true and correct copy of said copyright
   6   registration is attached hereto as Exhibit 5.
   7         23.    After “Circles” was commercially released in August 2019, it debuted
   8   at Number 7, reached Number 1 on the US Billboard Hot 100 for the week of
   9   November 30, 2019, where it remained for three (3) non-consecutive weeks, and it
  10   remained in the top 5 songs on Billboard for months thereafter, broke records for
  11   the most consecutive weeks in Billboard’s top 10 and remained on Billboard’s Hot
  12   100 charts for 60 consecutive weeks. The song received critical praise, with
  13   Billboard naming it the seventh (7th) best song of 2019, and describing it as
  14   consisting of a “bouncy, melancholy” melody alongside a “gentle acoustic groove,”
  15   and as being “backed by sunny acoustic guitars, swirling percussion and infectious
  16   melodies” with a “funky feel”. “Circles” is by far one of the most commercially
  17   successful songs released by Post to date.
  18         24.    Indeed, “Circles” is a dramatic departure from the music previously
  19   released commercially by Post. Prior to “Circles,” Post’s music was comprised
  20   mainly of him rapping or singing over pre-recorded beats or “rap track” on a
  21   computer. In contrast, the music for “Circles” is performed with live instruments
  22   (i.e., guitar, bass and live drums). “Circles” is the first major release by Post not to
  23   appear on any hip-hop charts. Attached hereto as Exhibit 6 is a copy of a review
  24   which appeared in a December 5, 2019 article for Slate entitled, “Post Malone
  25   Might Finally Be Getting His Wish to Escape Hip Hop,” which observes that unlike
  26   Post’s prior music, “the melody is sparkling, with prominent guitar arpeggios and
  27   a wistful sigh of a chorus that, dare I say it, soars. Post Malone has never been
  28   about the soar.”
                                                  9
         DECLARATION OF TYLER ARMES IN SUPPORT OF PLAINTIFF’S OPPOSITION TO DEFENDANTS’
                                MOTION FOR SUMMARY JUDGMENT
Case 2:20-cv-03212-ODW-SK   Document 84-2 Filed 03/14/22   Page 10 of 30 Page
                                 ID #:1278
Case 2:20-cv-03212-ODW-SK   Document 84-2 Filed 03/14/22   Page 11 of 30 Page
                                 ID #:1279




            EXHIBIT 1
Case 2:20-cv-03212-ODW-SK   Document 84-2 Filed 03/14/22   Page 12 of 30 Page
                                 ID #:1280



                   Armes Declaration Exhibit 1 –
   August 8, 2018 Voice Memo Recording with Armes, Post
                        and Dukes


                     (Audio File on Flash Drive)
Case 2:20-cv-03212-ODW-SK   Document 84-2 Filed 03/14/22   Page 13 of 30 Page
                                 ID #:1281




            EXHIBIT 2
Case 2:20-cv-03212-ODW-SK   Document 84-2 Filed 03/14/22   Page 14 of 30 Page
                                 ID #:1282



                   Armes Declaration Exhibit 2 –
           Commercially Released Version of “Circles”


                     (Audio File on Flash Drive)
Case 2:20-cv-03212-ODW-SK   Document 84-2 Filed 03/14/22   Page 15 of 30 Page
                                 ID #:1283




            EXHIBIT 3
Case 2:20-cv-03212-ODW-SK   Document 84-2 Filed 03/14/22   Page 16 of 30 Page
                                 ID #:1284
Case 2:20-cv-03212-ODW-SK   Document 84-2 Filed 03/14/22   Page 17 of 30 Page
                                 ID #:1285
Case 2:20-cv-03212-ODW-SK   Document 84-2 Filed 03/14/22   Page 18 of 30 Page
                                 ID #:1286




            EXHIBIT 4
Case 2:20-cv-03212-ODW-SK   Document 84-2 Filed 03/14/22   Page 19 of 30 Page
                                 ID #:1287




                                  P000010
Case 2:20-cv-03212-ODW-SK   Document 84-2 Filed 03/14/22   Page 20 of 30 Page
                                 ID #:1288




                                  P000011
Case 2:20-cv-03212-ODW-SK   Document 84-2 Filed 03/14/22   Page 21 of 30 Page
                                 ID #:1289




                                  P000012
Case 2:20-cv-03212-ODW-SK   Document 84-2 Filed 03/14/22   Page 22 of 30 Page
                                 ID #:1290




            EXHIBIT 5
Case 2:20-cv-03212-ODW-SK   Document 84-2 Filed 03/14/22   Page 23 of 30 Page
                                 ID #:1291




                                  P000050
Case 2:20-cv-03212-ODW-SK   Document 84-2 Filed 03/14/22   Page 24 of 30 Page
                                 ID #:1292




                                  P000051
Case 2:20-cv-03212-ODW-SK   Document 84-2 Filed 03/14/22   Page 25 of 30 Page
                                 ID #:1293




            EXHIBIT 6
           Case
3/14/22, 10:03 AM 2:20-cv-03212-ODW-SK                      Document      84-2
                                                            Why Post Malone’s “Circles”Filed
                                                                                        is No. 103/14/22          Page
                                                                                                 on the Billboard Hot 100. 26 of 30 Page
                                                                     ID #:1294


          A CHECK-IN WITH STRAY DEADBEATS



       MUSIC

       Post Malone Might Finally Be Getting His Wish to
       Escape Hip-Hop
       On his latest No. 1, the singer shows why he might just be our era’s most defining star.
       BY CHRIS MOLANPHY
       DEC 05, 2019 • 3:26 PM




         Post Malone in Atlanta in February. Photo illustration by Slate. Photo by Kevin Winter/Getty Images for Bud Light
         Super Bowl Music Fest.



       With less than a month to go in the 2010s, the decade that has utterly confounded our
       understanding of what genre even means in popular music, perhaps it’s appropriate that
       genre-obliterator Post Malone has the top song in America. He’s No. 1 again on the Hot 100
       —but the most telling detail is the chart the song is not on: Billboard’s Hot R&B/Hip-Hop



https://slate.com/culture/2019/12/post-malone-circles-number-1-billboard-hot-100.html                                                      1/5
           Case
3/14/22, 10:03 AM 2:20-cv-03212-ODW-SK                      Document      84-2
                                                            Why Post Malone’s “Circles”Filed
                                                                                        is No. 103/14/22          Page
                                                                                                 on the Billboard Hot 100. 27 of 30 Page
                                                                     ID #:1295
       Songs chart. Post, and the industry, has finally gotten the memo that he is a center-of-the-
       bull’s-eye pop star. Maybe he always was.

       The latest evidence comes in the form of the breezy, bubbly “Circles,” which topped the Hot
       100 just before Thanksgiving and is now in its second week on top. Though its lyrics echo
       the downbeat themes of Post’s earlier hits, lamenting how a “love went cold” between a
       couple who is “running in circles,” the melody is sparkling, with prominent guitar arpeggios
       and a wistful sigh of a chorus that, dare I say it, soars. Post Malone has never been about the
       soar. That’s a word we used to describe electro-pop songs nine long years ago—the era of
       “Dynamite” and “Party Rock Anthem” and “Teenage Dream.” (Props to the Singles
       Jukebox’s Oliver Maier for correctly labeling “Circles” as “the best Katy Perry song of 2019.”)

       “Circles” has been a fairly omnipresent hit all fall, strong in all of the Hot 100 chart metrics—
       it reached the runner-up slot in streaming back in September, got as high as second place at
       radio in late November, and is currently the top-selling digital song, all of which eventually
       propelled it to No. 1 on the big chart. It’s the fourth Hot 100 chart topper in just over two
       years for the 24-year-old born Austin Richard Post. But even that statistic understates the
       depth of his late ’10s success. Post has racked up more than two dozen Top 40 hits in just
       four years. Even if we exclude his deep cuts—when his last two albums dropped, every track
       on them made momentary Hot 100 appearances due to streaming—he has still generated
       more than a dozen actively promoted Top 20 hits, more than half of them Top 5 hits. Post is
       now a guaranteed-enough hit-maker that, this fall, none other than Ozzy Osbourne scored
       his first Top 10 hit in three decades just by teaming up with him. (By the way, that Post-
       Ozzy team up, “Take What You Want,” is now being fed to radio, too.) If Post Malone is far
       from the most critically appreciated music star of our time, he is possibly the most
       definitive of his era—less a trendsetter than a remarkably well-tuned Geiger counter for
       what travels on America’s airwaves.

       “Circles” continues this anything-for-a-hit ethos. I have been on record in this Slate No. 1 hits
       series finding Post’s music woozily alluring but his hip-hop appropriation shtick craven. But
       even I have to cop to two things here. First, Post has read the zeitgeist and gotten ahead of
       pop’s move back to the center after a half-decade of SoundCloud-style bummer rap. Second,
       “Circles” is a really strong pop song. Mind you, both of these achievements may be due to
       the company Post keeps. From early in his recording career, he has allied himself with savvy
       and accomplished songsmiths, a couple of whom—Louis Bell and Frank Dukes—polished
       this track into the infectious earworm it is. But after two solid years in which scarcely a
       week has gone by without one or often multiple Post Malone songs in the Top 10, I have to
       credit the guy for his survival skills. Like a bacterium, he mutates to survive.

https://slate.com/culture/2019/12/post-malone-circles-number-1-billboard-hot-100.html                                                      2/5
           Case
3/14/22, 10:03 AM 2:20-cv-03212-ODW-SK                      Document      84-2
                                                            Why Post Malone’s “Circles”Filed
                                                                                        is No. 103/14/22          Page
                                                                                                 on the Billboard Hot 100. 28 of 30 Page
                                                                     ID #:1296
       Here’s the story so far. Post first topped the Hot 100 in the fall of 2017 with “Rockstar,”
       which refined the template he inaugurated with his 2015 debut single “White Iverson” and
       was, until fairly recently, Post’s calling card: glum, trap-adjacent downers from an
       intermittently guitar-playing white dude. This Post subspecies persisted on his slightly
       brighter, marginally more up tempo No. 1 “Psycho” in the spring of 2018. Notably, in the post-
       Drake era where most rap is sung, Post’s hits were classified by the music industry as “rap”
       and charted accordingly. Billboard tracked them not only on the Hot 100 but on its genre
       charts Hot R&B/Hip-Hop Songs and Hot Rap Songs (which in the digital era are both
       basically just mini–Hot 100s; more on that momentarily). Both “Rockstar” and “Psycho” also
       included featured performances by established rappers—the former supported by
       21 Savage, the latter by Ty Dolla Sign. This boosted both their hip-hop bona fides and their
       chart success at the peak moment in 2017–18 for downbeat trap anthems. Both hits,
       especially “Psycho,” turned Post from a left-field rap figure to an improbable pop star,
       making him a fixture on Top 40 radio, and follow-up hits like “Better Now” extended his
       melancholy dudebro brand.

       Then, as 2018 flipped to 2019, Post scored his third No. 1, again teaming him with an
       established rapper—but it edged him closer to pure pop. “Sunflower,” co-credited to Post
       Malone and Swae Lee (of Rae Sremmurd fame), was not only on the soundtrack to last
       year’s Oscar-winning Spider-Man: Into the Spider-Verse, it was the animated blockbuster’s
       signature song, recurring throughout the movie and even helping to propel the plot. As a
       song designed to play repeatedly in a popcorn flick, “Sunflower” had to be superaccessible,
       and it was: lightly thumping and brightly sung by both Post and Swae, neither of whom—
       even Swae—was really rapping. In January, “Sunflower” snuck into the Hot 100’s top spot
       for a single week, sandwiched between longer runs for Halsey’s “Without Me” and Ariana
       Grande’s “7 Rings.” (“Sunflower’s” lone frame on top is why your loyal No. 1 hits columnist
       was unable to find time to chronicle it for this series. We at Slate … mildly regret this
       omission.)

       While this chart-topping interruption by Post/Swae seemed at the time like the Hot 100
       reverting to its late-’10s mode of male-centric hip-hop, really “Sunflower” had a lot more in
       common with Grande’s and especially Halsey’s hits. It was, to date, the most unabashedly
       poppy Post Malone hit, and it even shared a producer and co-songwriter with “Without Me.”
       Both songs were the handiwork of studio wizard Louis Bell, whom Billboard has called “this
       generation’s answer to Max Martin.” Bell broke in the mid-’10s with brooding hits by DJ
       Snake with Justin Bieber and, soon after, Post Malone with Quavo—his first of many Post
       tracks—but Bell later proved himself multifaceted and adaptable. By 2018, in addition to
       Halsey, Bell was working with pure-pop acts like 5 Seconds of Summer (“Youngblood”) and

https://slate.com/culture/2019/12/post-malone-circles-number-1-billboard-hot-100.html                                                      3/5
           Case
3/14/22, 10:03 AM 2:20-cv-03212-ODW-SK                      Document      84-2
                                                            Why Post Malone’s “Circles”Filed
                                                                                        is No. 103/14/22          Page
                                                                                                 on the Billboard Hot 100. 29 of 30 Page
                                                                     ID #:1297
       the Jonas Brothers. When the Jonases’ irresistible confection “Sucker” hit No. 1 hit in March
       of this year, it gave producer-songwriter Louis Bell three No. 1 hits in the first three months
       of the year, following “Without Me” and “Sunflower.” For Post Malone in particular, what
       this meant was he was paired with a shrewd producer who was getting him on the right
       bandwagon—Post was on trend with the Top 40’s swing back toward centrist pop.

       Here’s the twist. Though “Sunflower” had tangential-at-best connections to either R&B or
       hip-hop—even with Swae Lee’s presence—Billboard continued to dutifully chart Post on its
       R&B/Hip-Hop chart, as it had for all of his prior radio hits, from “White Iverson” through
       “Better Now.” In fact, “Sunflower” spent 11 weeks on top of the R&B/Hip-Hop chart from
       January through March, which is only remarkable (and dubious) because “Sunflower” had
       minimal airplay on rap radio. Unlike about a half-dozen prior Post hits, it never amassed
       enough spins at urban stations to appear on even the lowest rungs of Billboard’s radio-only
       R&B/Hip-Hop Airplay chart. That’s an important detail, because acceptance on certain radio
       stations is one of the few objective benchmarks Billboard can still rely on to decide which
       hits belong in which genre buckets. And the magazine, as you may have heard, has gotten
       itself in some hot water lately with the subjectivity of its genre classifications: Witness the
       “Old Town Road” imbroglio.

       As I noted when that Lil Nas X hit was notoriously yanked from Hot Country Songs, the core
       issue is baked into Billboard’s all-or-nothing genre charts methodology. Since 2012,
       Billboard has built these charts (e.g., Hot R&B/ Hip-Hop Songs, Hot Country Songs, Hot
       Latin Songs, Hot Rap Songs) using the same data used for the Hot 100 (digital sales and
       streams from all users, and radio airplay from all current hits formats) and simply limits the
       songs to the tracks Billboard has determined appropriate for that chart. In other words, the
       modern Hot R&B/Hip-Hop Songs chart doesn’t focus on a black or hip-hop–oriented
       audience anymore (and hasn’t for seven years).

       I needn’t get on my soapbox again about why I find fault with this system. What is useful for
       our Post Malone discussion is that Billboard’s genre chart methodology is an accidentally
       convenient way to determine when the music industry changed its mind about what genre,
       if any, he belongs in. Ideally, this determination should be made on a song-by-song basis,
       and to be fair to Billboard’s chart managers, that is essentially what they do—although Post
       probably should have been ejected from R&B/Hip-Hop Songs sooner. Arguably neither
       “Sunflower” nor “Goodbyes,” neither of which registered at urban radio, belonged on
       R&B/Hip-Hop Songs. Whereas the contemporaneous hit “Wow,” with serious rap cadence
       and a trap thump, peaked at a respectable No. 12 on the radio-only R&B/Hip-Hop Airplay
       chart and hence made more sense for inclusion on the main R&B/Hip-Hop chart.

https://slate.com/culture/2019/12/post-malone-circles-number-1-billboard-hot-100.html                                                      4/5
           Case
3/14/22, 10:03 AM 2:20-cv-03212-ODW-SK                      Document      84-2
                                                            Why Post Malone’s “Circles”Filed
                                                                                        is No. 103/14/22          Page
                                                                                                 on the Billboard Hot 100. 30 of 30 Page
                                                                     ID #:1298
       This, finally, brings us back to “Circles.” As far as Billboard and the industry are concerned,
       its genus is pop. It’s the first major Post Malone single not to appear on any hip-hop–specific
       charts at all and is currently being tracked mostly on Billboard lists that accept multiple
       genres. That includes not only the Hot 100 but the Adult Contemporary chart (!) as well as
       the rock radio–driven Alternative Songs chart. “Circles” isn’t a huge hit in either of those
       formats—a No. 22 peak at Adult Contemporary, No. 31 at Alternative—but merely appearing
       on these charts is remarkable. Most telling of all is the song’s absence from R&B/Hip-Hop
       Songs—Billboard determined they couldn’t grandfather in “Circles” based on prior hits, the
       way it did “Sunflower” and “Goodbyes.”

       Will the success of “Circles” mark a new phase for Post Malone? The fact that the Ozzy
       Osbourne duet is getting a push—Ozzy and Post performed it together at the American
       Music Awards in late November—suggests that Post, a lifelong rock fan, may finally get his
       long-stated wish to escape hip-hop entirely. Industry-ites have been wondering aloud since
       at least 2018 why Post wasn’t promoted to rock stations in the first place. Five years ago, in
       a piece for this series about “Shake It Off,” Taylor Swift’s self-declared first official, fully pop
       single, I wrote, “Maybe decades from now, some of us with short memories will look back on
       her insanely successful career and half-forget she was ever a country star.” Depending on
       where Post Malone goes from here, his four-year dalliance with rap might one day seem like
       similarly ancient history.




   Slate is published by The Slate Group, a Graham Holdings Company.


   All contents © 2022 The Slate Group LLC. All rights reserved.




https://slate.com/culture/2019/12/post-malone-circles-number-1-billboard-hot-100.html                                                      5/5
